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                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                 Byron White United States Courthouse
                                          1823 Stout Street
                                       Denver, Colorado 80257
                                           (303) 844-3157
   Elisabeth A. Shumaker                                                               Chris Wolpert
   Clerk of Court                      November 12, 2015                          Chief Deputy Clerk




   Mr. Jeffrey P. Colwell
   United States District Court for the District of Colorado
   Office of the Clerk
   Alfred A. Arraj U.S. Courthouse
   901 19th Street
   Denver, CO 80294-3589

   RE:       15-1399, Carter v. Loucks
             Dist/Ag docket: 1:12-CV-01381-WYD-KMT

   Dear Clerk:

   Please be advised that the court issued an order today dismissing this case.

   In addition, please be advised that the mandate for this case has issued today. The clerk of
   the originating court or agency shall file accordingly.

   Please contact this office if you have questions.

                                                 Sincerely,



                                                 Elisabeth A. Shumaker
                                                 Clerk of the Court



   cc:       Bruce L. Braley
             Michael S. Drew
             Elizabeth Craigmile Moran
             Scott Sherman Nixon
             James Edward Puga
             Benjamin Isaac Sachs
             Jon Thornton
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